        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 1 of 26




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EMILY COULTER,                                 :
                                               :
                  Plaintiff,                   :   CIVIL ACTION
                                               :
                  v.                           :   NO. 5:18-cv-01538-JLS
                                               :
CHASE BANK USA, N.A.,                          :
                                               :
                  Defendant.                   :
                                               :

                DEFENDANT’S AMENDED PRETRIAL MEMORANDUM

       Pursuant to this Court’s January 19, 2021 Order (ECF No. 122), Local Rule 16.1(c), and

this Court’s Individual Practices and Procedures, Defendant Chase Bank USA, N.A., now known

as JPMorgan Chase Bank, N.A. (“Chase”), through its undersigned counsel, hereby submits this

Amended Pretrial Memorandum.

I.     NATURE OF THE ACTION AND BASIS OF JURISDICTION

       In her Second Amended Complaint (ECF No. 78), Plaintiff alleges that she notified

Experian that her Chase accounts were inaccurately reporting the “Date of Status” and despite

receiving notice of these disputes, Chase did not update the Chase accounts to reflect the alleged

accurate “Date of Status” or mark the Chase Accounts as “in dispute.” Plaintiff claims that she

made these disputes in or around October 21, 2017 (the “October 2017 Disputes” or the “Subject

Disputes”). On these allegations, Plaintiff purports to bring causes of action against Chase for

alleged violations of sections 1681n and 1681o of the Fair Credit Reporting Act (“FCRA”).1

       Plaintiff is seeking to hold Chase liable for allegedly furnishing information that it did

not, and does not, furnish to CRAs, as well as a bare procedural violation. Chase maintains that


1
       15 U.S.C. §§ 1681, et seq.
         Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 2 of 26




it is not liable to Plaintiff for any amount and Plaintiff cannot prove her case for six separate and

independent reasons:

       1.      Chase does not furnish the Date of Status: It is undisputed that Chase does not

furnish the “Date of Status.” Rather, the “Date of Status” is a unique Experian field that appears

only on Experian consumer disclosures. Plaintiff is seeking to hold Chase liable for information

it does not furnish to CRAs and information it has no control over.

       2.      No obligation to mark the Accounts “in dispute”: Chase never had an obligation

to mark the Chase accounts in dispute because the October 2017 Disputes – the only disputes at

issue in this action–were not meritorious or bona fide on their face. The law is well-settled that a

furnisher does not have an obligation to mark an account “in dispute” upon receipt of a non-

meritorious or non-bona fide dispute. The fact that Chase does not furnish a “Date of Status”

makes Plaintiff’s disputes not bona fide or meritorious. Moreover, the October 2017 Disputes

were communicated to Chase through identical Automated Credit Dispute Verifications

(“ACDVs”), which provided only the following information to Chase:




                                                 2
        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 3 of 26




There is no reference to the “Date of Status” anywhere on the ACDVs. The “Date of Status” is

not information that Plaintiff specifically disputed in the ACDVs, nor is it information that Chase

could have addressed in the ACDVs.

       3.      Chase’s investigation was reasonable: Plaintiff cannot show that Chase failed to

perform a reasonable investigation upon notification of the October 2017 Disputes given the

scant information that was provided to Chase relating to the Subject Disputes.

       4.      Plaintiff did not suffer any harm: As a matter of law, Plaintiff cannot obtain any

damages because she cannot demonstrate that she suffered any harm as a result of Chase’s

alleged failure to perform a reasonable investigation of the October 2017 Disputes.

       5.      Consumer disclosures have no impact on credit decisions: Plaintiff cannot show

that any harm flowed to her from the allegedly inaccurate “Date of Status” because the field only

appears on consumer disclosures, which are not available to third-parties and, therefore, cannot

impact credit decisions.

       6.      The disputed information was updated: Plaintiff could not have been harmed

because Experian, the party responsible for the Date of Status field, changed the challenged

information to what Plaintiff believes it should have been.

       As a general matter, this Court has original jurisdiction over claims arising under the

FCRA pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 1681p.

II.    STATEMENT OF FACTS

       A.      Statement Of Undisputed Facts

       The following joint stipulation of material facts was submitted to the Court in connection

with the parties’ respective summary judgment motions. See ECF No. 86-2.

       1.      Plaintiff had two credit card accounts with Chase bearing account number

426684137180XXXX and 441712304702XXXX, respectively (the “Chase Accounts”).

                                                3
          Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 4 of 26




         2.    On April 29, 2015, Plaintiff filed for bankruptcy under Chapter 7 in the United

States Bankruptcy Court for the Eastern District of Pennsylvania.

         3.    Plaintiff identified the Chase Accounts as belonging to her in the schedules she

filed in her bankruptcy proceeding.

         4.    On September 3, 2015, Plaintiff received a discharge in her bankruptcy.

         5.    Experian has a data field called the “Date of Status” on its consumer disclosures.

         6.    Plaintiff’s July 24, 2017 Experian consumer disclosure report showed “July 2017”

as the “Date of Status” for the Chase Accounts.

         7.    On October 29, 2017, Chase received notice of a dispute concerning the Chase

Accounts from Experian via ACDVs (hereinafter “October 29, 2017 ACDVs”).

         8.    The October 29, 2017 ACDVs, like all ACDVs, do not contain a “Date of Status”

field.

         9.    Chase reviewed the October 29, 2017 ACDVs and provided a response to

Experian by the November 8, 2017 response date.

         10.   Chase did not mark the Chase Accounts in dispute in response to its receipt of the

October 29, 2017 ACDVs.

         11.   The “Date of Status” for the Chase Accounts in Experian’s October 30, 2017

Experian “Results Summary” appeared as April 2015 (what Plaintiff believes should have been

the correct Date of Status), and appeared that way on subsequent Experian consumer disclosures.

         12.   Plaintiff believes that her “rights were violated” when the reporting of the alleged

inaccurate information occurred and she believes she’s “owed something.”




                                                  4
         Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 5 of 26




       13.     Plaintiff testified that she did not know her credit score as of January 8, 2019,

when she was deposed in this action, nor did she know on that date what her credit score was

back in August of 2017.

       14.     Since the alleged inaccurate “Date of Status” appeared on her Experian consumer

disclosure, Plaintiff has not applied for and been denied credit.

       15.     Plaintiff has since applied for and obtained credit from various institutions.

       B.      Defendant’s Additional Statement of Facts

       1.      Plaintiff is married to Ramsey Coulter. Pl. Dep. Tr. at 12:4-9.

       2.      Plaintiff is the owner of Coulter Credit, a credit repair company managed by her

husband. Id. at 14:23-34; 15:1-5.; see also Ramsey Coulter Dep. Tr. at 23:12-21.

       3.      Coulter Credit refers clients to Zemel Law LLC, as well as other attorneys.

Ramsey Coulter Dep. Tr. 10-18,

       4.      At the time of her deposition, Plaintiff was unable to articulate what her damages

were and Plaintiff could not monetize what her alleged damages were. Pl. Dep. Tr. 58:6-23;

59:10-14, 24; 60-1-5.

       5.      Plaintiff did not review her credit report between October 3, 2017 and November

27, 2017. Pl. Dep. Tr. at 5-9.

III.   MONETARY DAMAGES CLAIMED

       Plaintiff is seeking actual damages, statutory damages, punitive damages, costs, and

attorneys’ fees. For the reasons set forth in Section X below, Plaintiff should be precluded from

offering any evidence or testimony at trial about her purported actual damages because she did

not produce any evidence of her claimed damages during discovery.

       Chase denies that Plaintiff has suffered any damages or is entitled to an award of any

damages. Chase seeks a verdict in its favor.

                                                 5
       Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 6 of 26




IV.   TRIAL WITNESSES

      A.   Liability Witnesses

           David Rivera (or a representative of Chase)
           c/o Counsel for Chase
           Jenny N. Perkins
           Ballard Spahr LLP
           1735 Market Street, 51st Floor
           Philadelphia, PA 19103
           (215) 864-8378

           Plaintiff Emily Coulter
           c/o Counsel for Plaintiff
           Daniel Zemel
           Zemel Law LLC
           1373 Broad Street
           Suite 203-C
           Clifton, NJ 07013

           Corporate Representative of Experian Information Solutions, Inc.
           601 Experian Parkway
           Allen, TX 75013

           John Ulzheimer (Chase’s Expert)
           c/o Counsel for Chase
           Jenny N. Perkins
           Ballard Spahr LLP
           1735 Market Street, 51st Floor
           Philadelphia, PA 19103
           (215) 864-8378

           Any witness identified by Plaintiff who has not been excluded

      B.   Damages Witnesses

           Plaintiff Emily Coulter
           c/o Counsel for Plaintiff
           Daniel Zemel
           Zemel Law LLC
           1373 Broad Street
           Suite 203-C
           Clifton, NJ 07013

           John Ulzheimer (Chase’s Expert)
           c/o Counsel for Chase
           Jenny N. Perkins
           Ballard Spahr LLP
           1735 Market Street, 51st Floor

                                         6
     Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 7 of 26




           Philadelphia, PA 19103
           (215) 864-8378


           Any witness identified by Plaintiff who has not been excluded

V.   SCHEDULE OF DEFENDANT’S EXHIBITS


EXHIBIT                       DOCUMENT                                 BATES
NUMBER                                                                NUMBER
D-1       October 29, 2017 ACDV for Chase Account 4266****         CHASE 00004-00006
D-2       October 29, 2017 ACDV for Chase Account 4417****         CHASE 00055-00057
D-3       September 24, 2015 ACDV for Chase Account 4266****       CHASE 00034-00036
D-4       September 24, 2015 ACDV for Chase Account 4417****       CHASE 00064-00066
D-5       December 30, 2015 ACDV for Chase Account 4417****        CHASE 00058-00060
D-6       January 13, 2016 ACDV for Chase Account 4417****         CHASE 00100-00102
D-7       January 13, 2016 ACDV for Chase Account 4266****         CHASE 00046-00048
D-8       February 20, 2016 ACDV for Chase Account 4266****        CHASE 00007-00009
D-9       February 20, 2016 ACDV for Chase Account 4417****        CHASE 00067-00069
D-10      June 2, 2016 ACDV for Chase Account 4266****             CHASE 00037-00039
D-11      June 2, 2016 ACDV for Chase Account 4417****             CHASE 00070-00072
D-12      July 25, 2016 ACDV for Chase Account 4266****            CHASE 00010-00012
D-13      July 25, 2016 ACDV for Chase Account 4417****            CHASE 00073-00075
D-14      August 24, 2016 ACDV for Chase Account 4417****          CHASE 00076-00078
D-15      August 24, 2016 ACDV for Chase Account 4266****          CHASE 00040-00042
D-16      October 4, 2016 ACDV for Chase Account 4266****          CHASE 00013-00015
D-17      October 4, 2016 ACDV for Chase Account 4417****          CHASE 00079-00081
D-18      October 24, 2016 ACDV for Chase Account 4417****         CHASE 00103-00105
D-19      October 24, 2016 ACDV for Chase Account 4266****         CHASE 00028-00030
D-20      November 7, 2016 ACDV for Chase Account 4266****         CHASE 00043-00045
D-21      November 7, 2016 ACDV for Chase Account 4417****         CHASE 00082-00084
D-22      December 7, 2016 ACDV for Chase Account 4417****         CHASE 00085-00087
D-23      January 10, 2017 ACDV for Chase Account 4266****         CHASE 00001-00003
D-24      January 11, 2017 ACDV for Chase Account 4417****         CHASE 00052-00054
D-25      January 12, 2017 ACDV for Chase Account 4417****         CHASE 00088-00090
D-26      January 12, 2017 ACDV for Chase Account 4417****         CHASE 00106-00108
D-27      January 13, 2017 ACDV for Chase Account 4266****         CHASE 00016-00018
D-28      March 10, 2017 ACDV for Chase Account 4266****           CHASE 00019-00021
D-29      March 10, 2017 ACDV for Chase Account 4417****           CHASE 00091-00093
D-30      July 11, 2017 ACDV for Chase Account 4266****            CHASE 00022-00024
D-31      July 12, 2017 ACDV for Chase Account 4417****            CHASE 00094-00096
D-32      August 19, 2017 ACDV for Chase Account 4266****          CHASE 00025-00027
D-33      August 20, 2017 ACDV for Chase Account 4417****          CHASE 00097-00099
D-34      December 18, 2017 ACDV for Chase Account 4266****        CHASE 00031-00033
D-35      December 18, 2017 ACDV for Chase Account 4417****        CHASE 00061-00063

                                         7
       Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 8 of 26




D-36      November 17, 2017 AUD for Chase Account 4266****             CHASE 00049-00051
D-37      November 17, 2017 AUD for Chase Account 4417****             CHASE 00109-00111
D-38      November 20, 2015 Letter from Plaintiff to Experian          EXPERIAN_18-CV-
                                                                       1538_000001
D-39      November 20, 2015 Letter from R. Coulter to Experian         EXPERIAN_18-CV-
                                                                       1538_000002
D-40      Plaintiff’s Experian Consumer Disclosure, dated October      EXPERIAN_18-CV-
          3, 2017                                                      1538_000151-000164
D-41      Plaintiff’s Experian Consumer Disclosure, dated October      EXPERIAN_18-CV-
          25, 2017                                                     1538_000165-000178
D-42      Plaintiff’s Experian Consumer Disclosure, dated October      EXPERIAN_18-CV-
          30, 2017                                                     1538_000255-000266
D-43      Plaintiff’s Experian Consumer Disclosure, dated              EXPERIAN_18-CV-
          November 27, 2017                                            1538_000179-000192
D-44      Plaintiff’s Experian Consumer Disclosure, dated December EXPERIAN_18-CV-
          29, 2017                                                     1538_000193-000206
D-45      Experian Transaction Log Control Number 340120750            EXPERIAN_18-CV-
                                                                       1538_000277
D-46      Experian Transaction Log Control Number 340166156            EXPERIAN_18-CV-
                                                                       1538_000278
D-47      Declaration of Mary Methvin, dated May 16, 2019
D-48      Experian Transaction Logs                                    EXPERIAN_18-CV-
                                                                       1538_000285-000308
D-49      Plaintiff’s Experian Credit Profile, dated April 4, 2018     EXPERIAN_18-CV-
                                                                       1538_000309-000318
D-50      Plaintiff’s Experian Disclosure Log, dated December 5,       EXPERIAN_18-CV-
          2017                                                         1538_000319-000330
D-51      Account Notes for Chase Account 4417****                     CHASE 00112-00125
D-52      Statements for Chase Account 4417****                        CHASE 00126-00289
D-53      Account Notes for Chase Account 4266****                     CHASE 00290-00306
D-54      Statements for Chase Account 4266****                        CHASE 00307-00342
D-55      January 7, 2017 Letter from Plaintiff to Chase               CHASE 00343
D-56      November 17, 2017 Letter from Chase to Plaintiff             CHASE 00344-00345
D-57      Expert Report of John Ulzheimer and all exhibits thereto,
          dated June 17, 2019
D-58      Plaintiff’s Initial Disclosures and all attachments thereto,
          dated June 11, 2018
D-59      Chase’s Initial Disclosures, dated June 12, 2018
D-60      Plaintiff’s Responses to Chase’s Interrogatories, dated
          September 20, 2018
D-61      Plaintiff’s Responses to Chase’s Document Requests,
          dated September 20, 2018
D-62      Plaintiff’s Responses to Experian’s Interrogatories, dated
          September 20, 2018
D-63      Plaintiff’s Responses to Experian’s Document Requests,

                                          8
         Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 9 of 26




             dated September 20, 2018
D-64         Chase’s Responses to Plaintiff’s Interrogatories, dated
             November 9, 2018
D-65         Chase’s Responses to Plaintiff’s Requests for Admissions,
             dated November 9, 2018
D-66         Chase’s Responses to Plaintiff’s Document Requests,
             dated November 9, 2018
D-67         Experian’s Responses to Plaintiff’s Interrogatories, dated
             October 30, 2018
D-68         Experian’s Responses to Plaintiff’s Requests for
             Admissions, dated October 29, 2018
D-69         Experian’s Responses to Plaintiff’s Document Requests,
             dated October 30, 2018
D-70         Plaintiff’s Deposition Transcript and Exhibits, dated
             January 8, 2019
D-71         Ramsey Coulter’s Deposition Transcript and Exhibits,
             dated January 8, 2019
D-72         David Rivera’s Deposition Transcript and Exhibits, dated
             March 6, 2019
D-73         John Ulzheimer’s Deposition Transcript and Exhibits,
             dated September 16, 2019
D-74         Coulter Credit LLC’s Objections and Responses to Chase’s
             Subpoena, dated November 21, 2018
D-75         Complaint, dated March 8, 2018                                   ECF No. 1
D-76         Chase’s Answer to Complaint, dated May 21, 2018                  ECF No. 10
D-77         Amended Complaint, dated June 29, 2018                           ECF No. 15
D-78         Chase’s Answer to Amended Complaint, dated July 13,              ECF No. 17
             2018
D-79         Affidavit of Emily Coulter, dated November 26, 2018              ECF No. 43 at p. 11
D-80         Plaintiff’s Second Motion to Amend Complaint, dated              ECF No. 67
             March 26, 2019
D-81         Plaintiff’s Second Amended Complaint, dated April 26,            ECF No. 78
             2019
D-82         Chase’s Answer to Plaintiff’s Second Amended                     ECF No. 79
             Complaint, dated May 1, 2019

Chase reserves the right to amend or supplement its exhibit list at a later date.

VI.    ESTIMATED LENGTH OF TRIAL

       Chase estimates that a trial of this matter will take two to three days.




                                                  9
        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 10 of 26




VII.   SPECIAL COMMENTS REGARDING LEGAL ISSUES

       A.      Plaintiff Lacks Standing To Pursue Her Claims

       Plaintiff lacks standing to pursue her claims as Plaintiff did not suffer an injury in fact

that is fairly traceable to the challenged conduct of Chase, and that is likely to be redressed by a

favorable judicial decision. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (setting

forth the elements of standing and holding that a bare procedural violation of a consumer

protections statute does not confer standing on a plaintiff without actual harm). Plaintiff has

offered no admissible evidence that Chase’s investigation of the October 2017 disputes caused

her harm. Nor has Plaintiff offered any evidence that she suffered any harm because Chase did

not mark the Chase Accounts “in dispute,” after responding to the ACDVs. See, e.g., Foster v.

Afni, Inc., No. 2:18-CV-12340-TGB, 2020 U.S. Dist. LEXIS 55579, at *12 (E.D. Mich. Mar.

31, 2020) (“Because the record is devoid of any evidence from which a jury could find that

Plaintiff's credit score changed because Defendant failed to report her debt as disputed, or that

she suffered emotional distress, Plaintiff has not shown a concrete harm to confer Article III

standing.”). Plaintiff testified at her deposition that she did not know what her credit score was

at the time of her deposition, she did not know what her credit score was in August 2017, and she

could not recall a time when she knew what her credit score was. See Pl. Dep. Tr. 148:3-23.

Morover, Plaintiff failed to produce any evidence relating to her credit score during any time

period during discovery in this action. Likewise, Plaintiff failed to produce any evidence of any

alleged emotional harm or that she was ever denied credit.

       In sum, Plaintiff has not established that she suffered any actual harm as result of Chase’s

investigation of the October 2017 disputes.




                                                10
        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 11 of 26




       B.      Plaintiff Cannot Establish Her Claim For Negligent Noncompliance With
               The FCRA Because Plaintiff Has No Evidence Of Actual Damages

       Plaintiff’s claim of Chase’s negligent noncompliance with the FCRA fails as a matter of

law because she cannot establish actual damages as a result of Chase’s challenged conduct. To

succeed on a FCRA claim, a plaintiff must prove her entitlement to damages under either a

negligence or willfulness theory. Horsch v. Wells Fargo Home Mortg., 94 F. Supp. 3d 665, 677-

78 (E.D. Pa. 2015) (“FCRA does not hold furnishers strictly liable for failing to investigate and

rectify disputed credit information. Rather, only willful or negligent violations will expose a

furnisher to civil liability.”) (citing § 1681n (willful noncompliance); § 1681o (negligent

noncompliance). A plaintiff alleging negligent noncompliance can recover only actual damages.

Horsch, 94 F. Spp. 3d at 678; see also 15 U.S.C. § 1681o(a)(1)-(2).

       Under a negligent noncompliance theory, a plaintiff must establish actual damages

attributable to the defendant's unreasonable investigation. See Van Veen v. Equifax Info., 844 F.

Supp. 2d 599, 609 (E.D. Pa. 2012) (“As I already explained, Plaintiff does not have a cause of

action for Defendant's alleged inaccurate reporting.     Rather, Plaintiff can recover only for

Defendant's alleged failure to conduct a reasonable investigation of his dispute after receiving

notice from a CRA. Accordingly, Plaintiff can recover only for those damages caused by

Defendant's unreasonable investigations.”) Plaintiff has not produced any evidence that she

suffered any damages traceable to Chase’s challenged conduct.

       In response to this argument, which Chase raised in its summary judgment motion,

Plaintiff alleged that her credit score was lowered due to Chase’s reporting, she refrained from

applying for additional credit and she endured emotional harm. Plaintiff, however, did not

present any evidence to establish these alleged damages. Critically, Plaintiff never disclosed her

credit score during discovery. Even if Plaintiff had disclosed this information and demonstrated


                                               11
        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 12 of 26




that her credit score was lowered during the relevant time period, Plaintiff did not produce any

evidence tying Chase’s alleged inaccurate reporting to Plaintiff’s alleged credit harm. Multiple

factors can impact an individual’s credit score and, one of the major factors is bankruptcy, which

Plaintiff admittedly experienced. Plaintiff did not present any evidence that she refrained from

applying for additional credit during the relevant time period. Nor did Plaintiff present sufficient

evidence that she suffered emotional harm as a result of Chase’s actions. Plaintiff did not offer

any testimony that she suffered emotional distress as a result of Chase’s actions. At a minimum,

a plaintiff must present testimonal evidence of emotional injury. Cortez v. Trans Union, LLC,

617 F.3d 688, 719-20 (3d Cir. 2010). Plaintiff did not do so here.

       C.      Plaintiff Cannot Establish Her Claim For Willful Violation Of The FCRA
               Because Plaintiff Has Provided No Evidence That Chase’s Investigation Was
               Unreasonable

       To prove willfulness, Plaintiff carries the heavy burden of showing that Chase knowingly

and intentionally committed an act in conscious disregard for Plaintiff’s rights. See Safeco Ins.

Co. of America v. Burr, 551 U.S. 47, 57-58 (2007). As a matter of law, only defendants who

engaged in willful misrepresentations or concealments have committed a willful violation of the

FCRA and are subject to liability under §1681n. See Stevenson v. TRW, Inc., 987 F.2d 288, 294

(5th Cir. 1993); see also Cushman v. TU Corp., 115 F.3d 220, 227 (3d Cir. 1997). Plaintiff

cannot meet her heavy burden of establishing that Chase knowingly and intentionally committed

an act in conscious disregard for Plaintiff’s rights and there is absolutely no evidence that Chase

engaged in willful misrepresentations or concealments with respect to its investigation of the

October 2017 Disputes.




                                                12
          Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 13 of 26




VIII. ALL STIPULATIONS OF COUNSEL

       As of the date of this submission, the parties jointly submitted a statement of undisputed

facts with their respective summary judgment motions. See supra at Section II.A.

IX.    STATEMENT OF OBJECTIONS TO THE ADMISSIBILITY OF EXHIBITS
       BASED ON AUTHENTICITY

       Chase submits the following objections to the admissibility of certain exhibits that

Plaintiff included on her exhibit list. For ease of reference, Chase submits all other admissibility

objections it has with respect to the documents listed below.

Exhibit      PLAINTIFF’S PROPOSED EXHIBIT                   BASIS FOR AUTHENTICITY
 No.                                                           OBJECTION & OTHER
                                                           ADMISSIBILITY OBJECTIONS
13.                                                       Authenticity Objection:
           August 18, 2017 Letter from Plaintiff to
           Experian                                            FRE 901(b)(1) – Plaintiff testified
                                                                that she does not have personal
               Produced by Plaintiff without bates-            knowledge of this letter because
                number                                          she did not write it; her husband
                                                                did. Plaintiff also does not have
                                                                personal knowledge that the letter
                                                                was mailed.

                                                          Other Admissibility Objections:

                                                               FRE 1002 – Unsigned purported
                                                                copy of letter does not constitute an
                                                                original writing, thereby violating
                                                                the best evidence rule. See Pl.
                                                                Dep. Tr. at 4:4-24; 47:1-7.

                                                               An original signed copy of the
                                                                letter exists, but Plaintiff did not
                                                                retain a copy of the signed letter.
                                                                See Ramsey Coulter Dep. at 54:15-
                                                                24; 55:1-21.

                                                               FRE 402; 403 – Irrelevant evidence
                                                                is not admissible. Evidence that is
                                                                unfairly prejudicial and that would

                                                13
          Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 14 of 26




                                                           mislead the jury is not admissible.
                                                           Discovery established that Chase
                                                           never received notice of Plaintiff’s
                                                           August 2017 Dispute. Chase was
                                                           never sent this letter or a
                                                           corresponding       ACDV       from
                                                           Experian. Plaintiff’s August 2017
                                                           Dispute was the subject of
                                                           Plaintiff’s original complaint and
                                                           amended complaint in this action.
                                                           In her motion for leave to file a
                                                           second amended complaint (ECF
                                                           No. 67), Plaintiff admitted that
                                                           Chase never received the August
                                                           2017 Dispute. See ECF No. 67 at
                                                           p. 2 (“Through the recent discovery
                                                           of disclosed documents received
                                                           from Defendant Chase Bank USA,
                                                           N.A., and the deposition of
                                                           Defendant on March 6, 2019,
                                                           Plaintiff has confirmed that the
                                                           dispute that formed the basis of the
                                                           current        Complaint        was
                                                           mysteriously never received by
                                                           Defendant.”



2, 5, 6    (i) Plaintiff’s July 24, 2017 Experian      Authenticity Objection:
           Consumer Disclosure
                                                          FRE 901(b)(1) - Plaintiff does not
           (ii) Plaintiff’s October 3, 2017 Experian       have personal knowledge of how
           Consumer Disclosure                             Experian credit reports or credit
                                                           disclosures are created. See, e.g.,
           (iii) Plaintiff’s November 27, 2017             Egan v. Idaho Credit Union, No.
           Experian Consumer Disclosure                    4:15-cv-00471-DCN, 2017 U.S.
             Produced by Plaintiff without bates-         Dist. LEXIS 161634, at *9 (D.
                 number                                    Idaho Sept. 29, 2017) (a credit
                                                           report may only be deemed
                                                           admissible with testimony from an
                                                           individual with actual knowledge
                                                           of how the credit reports were
                                                           created); Gannon v. IC Sys., No.
                                                           09-60302, at *4 (S.D. Fl. Sept. 25,
                                                           2009) (“The Court's own research
                                                           into the admissibility of credit
                                                           reports under the business record
                                               14
      Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 15 of 26




                                                    exception reveals that such reports
                                                    are admissible when there is
                                                    testimony from someone at the
                                                    credit bureau with knowledge of
                                                    how the reports are compiled.”)

                                                Other Admissibility Objections:

                                                   FRE 801 and 802 – Plaintiff’s
                                                    consumer disclosures are hearsay
                                                    and are not subject to any of the
                                                    exceptions listed in FRE 803 or
                                                    804.



3-4    Plaintiff’s Experian Consumer            Authenticity Objection:
       Disclosures dated: August 18, 2017 and
       December 29, 2017                           FRE 901(b)(1) - Plaintiff does not
         Produced by Experian as                   have personal knowledge of how
           EXPERIAN_18-CV-1538_000013-              Experian credit reports or credit
           000206                                   disclosures are created. See, e.g.,
                                                    Egan v. Idaho Credit Union, No.
                                                    4:15-cv-00471-DCN, 2017 U.S.
                                                    Dist. LEXIS 161634, at *9 (D.
                                                    Idaho Sept. 29, 2017) (a credit
                                                    report may only be deemed
                                                    admissible with testimony from an
                                                    individual with actual knowledge
                                                    of how the credit reports were
                                                    created); Gannon v. IC Sys., No.
                                                    09-60302, at *4 (S.D. Fl. Sept. 25,
                                                    2009) (“The Court's own research
                                                    into the admissibility of credit
                                                    reports under the business record
                                                    exception reveals that such reports
                                                    are admissible when there is
                                                    testimony from someone at the
                                                    credit bureau with knowledge of
                                                    how the reports are compiled.”)

                                                Other Admissibility Objections:

                                                   FRE 801 and 802 – Plaintiff’s
                                                    consumer disclosures are hearsay
                                                    and are not subject to any of the
                                                    exceptions listed in FRE 803 or

                                        15
        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 16 of 26




                                                             804.

                                                            FRE 402; 403 – Irrelevant evidence
                                                             is not admissible. Evidence that is
                                                             unfairly prejudicial and that would
                                                             mislead the jury is not admissible.
                                                             Discovery established that Chase
                                                             never received notice of Plaintiff’s
                                                             August 2017 Dispute. Chase was
                                                             never sent this letter or a
                                                             corresponding       ACDV       from
                                                             Experian. Plaintiff’s August 2017
                                                             Dispute was the subject of
                                                             Plaintiff’s original complaint and
                                                             amended complaint in this action.
                                                             In her motion for leave to file a
                                                             second amended complaint (ECF
                                                             No. 67), Plaintiff admitted that
                                                             Chase never received the August
                                                             2017 Dispute. See ECF No. 67 at
                                                             p. 2 (“Through the recent discovery
                                                             of disclosed documents received
                                                             from Defendant Chase Bank USA,
                                                             N.A., and the deposition of
                                                             Defendant on March 6, 2019,
                                                             Plaintiff has confirmed that the
                                                             dispute that formed the basis of the
                                                             current        Complaint        was
                                                             mysteriously never received by
                                                             Defendant.”




X.     STATEMENT OF OBJECTIONS TO THE ADMISSIBILITY OF ANY
       EVIDENCE EXPECTED TO BE OFFERED FOR ANY REASON

       Chase submits the following objections to the admissibility of certain exhibits Plaintiff

included on her exhibit list:2


       2
               Per His Honor’s Individual Policies and Procedures, the deadline for filing
 motions in limine will be determined at the Rule 16 Conference and will be confirmed in the
 Scheduling Order. No such deadline appears in any of the Scheduling Orders entered in this
                                                                                     (continued...)

                                              16
          Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 17 of 26




Exhibit EVIDENCE PROFFERED BY PLAINTIFF                            BASIS FOR OBJECTION
   No.
1.      Declaration of Mary Methvin & Exhibits                    FRE 801 and 802 – The
        attached thereto                                           declaration and the exhibits are
                                                                   hearsay and are not subject to
                Declaration was produced by Experian in           any of the exceptions listed in
                 discovery without bates-numbers and the           FRE 803 or 804.
                 Exhibits attached to the Declaration are
                 bates-numbered       EXPERIAN_18-CV-
                 1538_000285-00030


14.         Deposition of Kimberly Cave, 30(b)(6)                 FRE 801 and 802 – the
            Witness for Experian in Another Action                 deposition is hearsay and it is
                                                                   not subject to any of the
                Plaintiff did not produce the deposition          exceptions listed in FRE 803 or
                 transcript during discovery. Instead, she         804.
                 attached portions of same to her Opposition
                 to Chase’s Motion for Summary Judgment.          The deposition was taken in a
                                                                   different action. Chase was not
                Plaintiff has only provided Chase with            a party to this other action and
                 excerpts from the deposition. The full            Chase did not have the
                 deposition has not been produced in this          opportunity to participate in the
                 case.                                             deposition from this other
                                                                   action.

17.         Deposition of Emily Coulter                           FRE 801 and 802 – Chase
            *See Note following Chart                              objects generally to the
                                                                   admission      of      Plaintiff’s
                                                                   Deposition Testimony in lieu of
                                                                   Plaintiff testifying at trial.
                                                                   Plaintiff’s deposition testimony
                                                                   is hearsay and is not subject to
                                                                   any of the exceptions listed in
                                                                   FRE 803 or 804.

________________________
(...continued)
 action. Chase anticipates that His Honor will set a deadline for the parties to file motions in
 limine at the final pretrial conference on February 9, 2021. Chase intends to file motions in
 limine regarding the evidence identified in the above chart, as well as other motions in limine.




                                                 17
      Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 18 of 26




18.    Deposition of Ramsey Coulter                       FRE 801 and 802 – Chase
                                                           objects generally to the
                                                           admission of Ramsey Coulter’s
                                                           Deposition Testimony in lieu of
                                                           Ramsey Coulter testifying at
                                                           trial.     Ramsey Coulter’s
                                                           Deposition    Testimony      is
                                                           hearsay and is not subject to
                                                           any of the exceptions listed in
                                                           FRE 803 or 804.

18.    Deposition of Ramsey Coulter and/or Trial          FRE 801 and 802 – Ramsey
       Testimony from Him Regarding the                    Coulter’s deposition testimony
       Contents of Plaintiff’s Experian Consumer           of the contents of Plaintiff’s
       Disclosures and/or Credit Reports, as well as       Experian Consumer Disclosures
       Plaintiff’s credit score.                           and/or Credit Reports, as well
                                                           as Plaintiff’s credit score, is
           Ramsey Coulter Dep. Tr. at pp. 28-35;          double hearsay and it is not
            104:13-107; 154-155                            subject to any of the exceptions
                                                           listed in FRE 803 or 804.

18.    Deposition of Ramsey Coulter and/or Trial          FRE 701 and 702 – Ramsey
       Testimony from Him Regarding the Impact             Coulter was not designated as
       of Chase’s furnishing of information on             an expert in this case and the
       Plaintiff’s credit score.                           deadline for Plaintiff to identify
                                                           an expert has expired. Ramsey
           Ramsey Coulter Dep. Tr. at pp. 28-35;          Coulter may not render lay
            104:13-107.                                    opinion testimony about the
                                                           impact, if any, of Chase’s
                                                           furnishing of information on
                                                           Plaintiff’s credit score and the
                                                           meaning       or    impact      of
                                                           Experian’s “Date of Status”
                                                           field.


       Deposition Testimony of Ramsey Coulter             FRE 701 and 702 – Ramsey
       and/or Trial Testimony from Him Regarding           Coulter may not render lay
       Plaintiff’s alleged damages.                        opinion      testimony      about
                                                           Plaintiff’s alleged anxiety,
                                                           emotional       distress,    other
                                                           medical symptoms, or any of
                                                           Plaintiff’s alleged damages as
                                                           he is not qualified to do so.

                                                          FRE 801 and 802 –Ramsey


                                           18
      Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 19 of 26




                                                                 Coulter may not testify about
                                                                 any conversation he had with
                                                                 Plaintiff or anyone else
                                                                 regarding Plaintiff’s alleged
                                                                 damages, such testimony is
                                                                 hearsay and it is not subject to
                                                                 any of the exceptions listed in
                                                                 FRE 803 and 804.

18.    Deposition of Ramsey Coulter and/or Trial                FRE 701 and 702 – Ramsey
       Testimony from Him Regarding the Fair                     Coulter was not designated as
       Credit Reporting Act.                                     an expert in this case and the
                                                                 deadline for Plaintiff to identify
           Ramsey Coulter Dep. Tr. at pp. 43-45.                an expert has expired. Ramsey
                                                                 Coulter may not render lay
                                                                 opinion testimony about the
                                                                 Fair Credit Reporting Act,
                                                                 which       requires        expert
                                                                 testimony.

N/A    Evidence/Testimony of Plaintiff’s Out-of-                Evidence of out-of-pocket
       Pocket Expenses                                           expenses should be precluded
                                                                 from trial because this type of
           Plaintiff did not produce any evidence of            expense is not compensable
            out-of-pocket expenses in discovery and              under the FCRA.             See
            testified at her deposition that she could not       Sassaman v. Rushmore Loan
            articulate or monetize her purported                 Mgmt. Servs., LLC, No. 1:15-
            damages.                                             cv-1487, 2016 U.S. Dist.
                                                                 LEXIS 173187, at 6-7 (M.D.
                                                                 Pa. Dec. 15, 2016) (“Out-of-
                                                                 pocket expenses such as
                                                                 postage fees, credit monitoring,
                                                                 printing and copying costs,
                                                                 mileage expended, and costs of
                                                                 notifying an agency or creditor
                                                                 that a report is inaccurate are
                                                                 not actual damages under the
                                                                 FCRA.”) (collecting cases).



       Evidence/Testimony of Plaintiff’s Actual                 A plaintiff cannot recover
       Damages from any witness                                  damages that are based upon
                                                                 sheer speculation, guesswork,
           Plaintiff did not produce any evidence of            or conjecture.    Jackson &
            actual damages caused by Chase in                    Coker, Inc. v. Lynam, 840 F.
            discovery and testified at her deposition            Supp. 1040, 1052 (E. D. Pa.

                                              19
Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 20 of 26




      that she could not articulate or monetize         1993), aff'd, 31 F. 3d 1172 (3d
      her purported damages.                            Cir. 1994). Instead, a plaintiff
                                                        has to provide a foundation, in
     Plaintiff did not produce any evidence that       the form of a reasonable
      she suffered emotional distress as a result       quantity of information, upon
      of Chase’s actions.                               which the trier of fact can form
                                                        a     fair     and    reasonable
                                                        assessment of the amount of his
                                                        loss.       Petock v. Thomas
                                                        Jefferson University, No. 84
                                                        5937, 1986 U.S. Dist. LEXIS
                                                        30246, at *9 (E.D. Pa. Jan.
                                                        21,1986); Aetna Freight Lines,
                                                        Inc., 368 F.2d 345 (3rd Cir.
                                                        1966). Plaintiff must not be
                                                        permitted to introduce evidence
                                                        of the existence any actual
                                                        damages caused by Chase’s
                                                        credit     furnishing    or    to
                                                        speculate, without a scintilla of
                                                        evidence, that she actually
                                                        incurred these damages or that
                                                        these damages were caused by
                                                        Chase.

                                                       Plaintiff has not produced any
                                                        documentation evidencing her
                                                        current and prior credit scores
                                                        and is therefore unable to show
                                                        that her credit score decreased
                                                        as a result of Chase’s credit
                                                        furnishing.         Accordingly,
                                                        Plaintiff cannot establish that
                                                        actual damages, injury to her
                                                        credit rating and/or a decreased
                                                        credit occurred when she has no
                                                        evidence to establish a base line
                                                        by which the trier of fact could
                                                        conclude       that      Chase’s
                                                        furnishing caused her actual
                                                        damages, injury to her credit
                                                        worthiness and/or decreased her
                                                        credit score.

                                                       Further, Plaintiff’s credit score
                                                        and credit reputation are
                                                        derived from the information
                                       20
        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 21 of 26




                                                                 contained in her credit reports.
                                                                 Plaintiff has failed to produce
                                                                 even a single copy of her credit
                                                                 report.

                                                                Emotional distress damages are
                                                                 recoverable as actual damages
                                                                 under the FCRA. Cortez v.
                                                                 Trans Union, LLC, 617 F.3d
                                                                 688, 719-20 (3d Cir. 2010). At
                                                                 a minimum, however, a
                                                                 plaintiff    must      present
                                                                 testimonial    evidence     of
                                                                 emotional injury. Id. at 720.
                                                                 Moreover, the FCRA plaintiff
                                                                 must prove causation by a
                                                                 preponderance of the evidence.
                                                                 Philbin v. Trans Union Corp.,
                                                                 101 F.3d 957, 966 (3d Cir.
                                                                 1996)



        Chase objects to the introduction of Plaintiff’s deposition transcript, as she should be

required to appear in person as the plaintiff in this case, but if Plaintiff is allowed to use her

deposition testimony in lieu of live testimony, Chase designates the following portions from her

deposition transcript for its case-in-chief:3




3
        Chase makes the same objection and reservation with respect to the deposition transcript
        of David Rivera, Chase’s 30(b)(6) witness.


                                                21
       Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 22 of 26




17:3-24; 18-3




                                      22
Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 23 of 26




     58:6-24; 59:1-14; 24; 60:1-5.




                                     23
        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 24 of 26




175:6-24; 176:1.




XI.    OBJECTION TO THE ADMISSIBILITY OF ANY OPINION TESTIMONY
       FROM LAY WITNESSES PURSUANT TO FEDERAL RULE OF EVIDENCE 701

       Chase objects to the admissibility of any opinion testimony from Plaintiff’s husband,

Ramsey Coulter, or any other lay witness regarding the topics outlined in Section X.

XII.   DEPOSITION TESTIMONY (INCLUDING VIDEO DEPOSITION TESTIMONY)
       THAT THE PARTY INTENDS TO OFFER DURING ITS CASE-IN-CHIEF

       A.      Deposition Testimony of Chase’s 30(b)(6) Representative David Rivera

       At this juncture, Chase does not anticipate using any of Mr. Rivera’s deposition

testimony during its case-in-chief because it intends to call Mr. Rivera as a witness. However,

Chase reserves the right to use Mr. Rivera’s deposition testimony during its case-in-chief, in the

                                               24
        Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 25 of 26




event travel restrictions are still in effect at the time of trial because Mr. Rivera resides in

Chicago and would have to take a plane to travel to Philadelphia.

        Chase respectfully reserves the right to amend and/or supplement its pretrial memo at a

later date.

        B.     Deposition Testimony of Chase’s Expert, John Ulzheimer

        At this juncture, Chase does not anticipate using any of Mr. Ulzheimer’s deposition

testimony during its case-in-chief because it intends to call Mr. Ulzheimer as a witness.

However, Chase reserves the right to use Mr. Ulzheimer’s deposition testimony during its case-

in-chief, in the event travel restrictions are still in effect at the time of trial because Mr.

Ulzheimer resides in Georgia and would have to take a plane to travel to Philadelphia.

        Chase respectfully reserves the right to amend and/or supplement its pretrial memo at a

later date.



                                                    Respectfully submitted,

Date: February 9, 2021                              /s/ Jenny N. Perkins
                                                    Beth Moskow-Schnoll, Esquire
                                                    moskowb@ballardspahr.com
                                                    Jenny N. Perkins, Esquire
                                                    perkinsj@ballardspahr.com
                                                    Ballard Spahr LLP
                                                    1735 Market Street, 51st Floor
                                                    Philadelphia, Pennsylvania 19103-7599
                                                    (215) 864-8238 (Telephone)
                                                    (215) 864-9511 (Fax)
                                                    Attorneys for Defendant,
                                                    JPMorgan Chase Bank, N.A.




                                               25
       Case 5:18-cv-01538-JLS Document 124 Filed 02/09/21 Page 26 of 26




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this day, a true and correct copy of the foregoing

Defendant’s Amended Pretrial Memorandum was served on the following via electronic service

through the Electronic Case Filing System for the Eastern District of Pennsylvania

                                    Daniel Zemel, Esquire
                                  Nicholas J. Linker, Esquire
                                       Zemel Law LLC
                                      1373 Broad Street
                                         Suite 203-C
                                      Clifton, NJ 07013
                                      Counsel for Plaintiff



Dated: February 9, 2021
                                                    /s/ Jenny N. Perkins
                                                    Jenny N. Perkins




                                               26
